1:07-cv-01298-MMM # 2473-1   Page 1 of 5                                    E-FILED
                                           Tuesday, 13 November, 2018 03:58:42 PM
                                                       Clerk, U.S. District Court, ILCD




            EXHIBIT A
       1:07-cv-01298-MMM # 2473-1              Page 2 of 5



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

 ASHOOR RASHO, et al.,

                         Plaintiffs,                   No. 1:07-CV-1298-MMM-JEH
               v.
                                                       Hon. Michael M. Mihm
 DIRECTOR JOHN R. BALDWIN, et al.,

                         Defendants.

                    DEFENDANTS’ PROPOSED INJUNCTION ORDER

       On October 30, 2018, the Court issued an order (ECF No. 2460) granting plaintiffs’

motion for a permanent injunction (ECF No. 2112), giving defendants 14 days to submit their

proposed actions to address the constitutional deficiencies identified in the Court’s opinion, and

giving plaintiffs 7 days to file a response to defendants’ proposal.

       Having reviewed the submissions of the parties with respect to the form of proposed

relief, and pursuant to the Court’s October 30, 2018 order, IT IS HEREBY ORDERED that, with

respect to plaintiffs’ claim under the Eighth Amendment alleging a failure to deliver adequate

mental health services to mentally ill prisoners in the physical custody and control of the Illinois

Department of Corrections (the “Department”), injunctive relief is ordered under the Prison

Litigation Reform Act, 18 U.S.C. § 3626(a)(1)(A), as follows:

       1.      Initial Mental Health Evaluations: Initial mental health evaluations resulting

from a referral for routine mental health services shall be timely completed based on information

contained in the referral.

       2.      Individual Treatment Plans: Each class member shall receive a mental health

treatment plan that is (a) individualized, (b) prepared by either a psychiatric provider or mental

health professional, (c) reviewed and approved within a reasonable period of time by appropriate
       1:07-cv-01298-MMM # 2473-1              Page 3 of 5



members of the treatment team (including at least a psychiatric provider and mental health

professional), and (d) updated as clinically required.

       3.      Mental Health Care For Prisoners On Crisis Watch: Class members placed on

crisis watch shall be offered at least the following care to the extent feasible allowing for

appropriate operational discretion and flexibility:

               (a) daily contact and assessment by a mental health professional in a confidential
                   setting;

               (b) consultation with a psychiatric provider as needed to evaluate the prisoner’s
                   treatment, level of care, and any necessary medications;

               (c) before discharge from crisis watch, a mental health professional or psychiatric
                   provider, as clinically appropriate, shall review the prisoner’s case to
                   determine if the prisoner should be released from crisis watch and whether
                   any changes should be made to the prisoner’s course of treatment, level of
                   care, or treatment plan;

               (d) post-discharge follow-up by appropriate mental health staff as clinically
                   appropriate to assess for a risk of self-harm or harm to others.

       4.      Mental Health Care For Prisoners In Segregation: Class members placed into

segregation status as defined in the Settlement Agreement shall be offered at least the following

care to the extent feasible allowing for appropriate operational discretion and flexibility:

               (a) as soon as practicable after placement into segregation, a mental health
                   professional shall assess the class member to establish a baseline against
                   which any future decompensation can be measured;

               (b) a mental health professional shall review and recommend any clinically
                   necessary modifications to the prisoner’s individual treatment plan;

               (c) rounds by appropriate mental health staff, which may include behavioral
                   health technicians;

               (d) class members in segregation for longer than 60 days shall be offered the
                   opportunity to participate in structured and unstructured out-of-cell time each
                   week unless clinically contraindicated;



                                                  2
         1:07-cv-01298-MMM # 2473-1            Page 4 of 5



               (e) continued treatment by a mental health professional and/or psychiatric
                   provider to the extent clinically indicated.

         5.    Administration and Management of Psychotropic Medication: Class members

who are prescribed psychotropic medication shall be offered at least the following care to the

extent feasible allowing for appropriate operational discretion and flexibility:

               (a) assessment, monitoring, and follow-up by a psychiatric provider as, and at
                   intervals, not to exceed established policy directives;

               (b) clinically appropriate efforts to ascertain and test for potential side effects
                   from medications and consultation with the patient concerning potential
                   medication side effects and alternatives;

               (c) reasonable efforts to ensure that prescribed medications are being timely
                   delivered to and taken by the prisoner, including mouth checks.

         6.    Mental Health Clinical Staffing: The Department shall adopt a staffing plan and

achieve a level of staffing that provides a sufficient number of mental health staff of varying

types to provide class members with adequate and timely evaluations, treatment, and follow-up

consistent with contemporary standards of care. The Department may use any reasonable means

that it determines in its professional judgment to be appropriate to provide sufficient staffing.

         7.    Consistent with 18 U.S.C. § 3626(b)(a)(1)(A), the Court finds that the foregoing

relief is narrowly drawn, extends no further than necessary to correct the violation of the Eighth

Amendment rights of mentally ill prisoners in the custody of the Illinois Department of

Corrections, and is the least intrusive means necessary to correct the violation of the federal

rights of such prisoners.

         8.    The Court will retain jurisdiction over this matter to enforce the terms of this

order.




                                                  3
       1:07-cv-01298-MMM # 2473-1              Page 5 of 5



       9.      Consistent with 18 U.S.C. § 3626(b)(a)(A)(1), this injunction shall terminate in

two years upon the motion of either party unless the Court finds that prospective relief is needed

to correct an ongoing violation of a federal right.

       Entered this ___ day of ____, 2018



                                                      /s/ Michael M. Mihm
                                                      U.S. District Court Judge




                                                  4
